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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
      v.                                       : Case No. 1:21-CR-00447-CJN-03
                                               :
JOSHUA CHRISTOPHER DOOLIN,                     :
    Defendant.                                 :


      MOTION FOR MODIFICATION OF CONDITIONS OF RELEASE

      COMES NOW, Joshua Christopher Doolin, through counsel, Allen H.

Orenberg, to respectfully request this honorable court to modify his conditions of

release by the vacating requirement of “Stand Alone Monitoring” (GPS ankle

bracelet) See Order Setting Conditions of Release. (Doc. 22, pp.2-3)

      As grounds for this motion counsel states the following:

      1.      Mr. Doolin is charged with violations of 18 U.S.C. § 1752(a)(1) -

Knowingly Entering or Remaining in any Restricted Building or Grounds Without

Lawful Authority (Count 16), and 18 U.S.C. §1752(a)(2) – Disorderly and Disruptive

Conduct in a Restricted Building. (Count 17)

      2.      Both charges are misdemeanors.

      3.      None of the charges allege acts of violence by Mr. Doolin.

      4.      Nothing in the discovery provided to date contains any indicia of

violence by Mr. Doolin.

      5.      The Bail Reform Act, 18 U.S.C. §3142(c)(1)(B) provides for release of

a person on conditions subject to the:

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               least restrictive further condition, or combination of
               conditions, that such judicial officer determines will
               reasonably assure the appearance of the person as
               required and the safety of any other person and the
               community, which may (emphasis provided) include the
               condition that the person—

       6.      Mr. Doolin’s placement on “Stand Alone Monitoring” (GPS ankle

bracelet) is not the “least restrictive” condition of release.

       7.      Since the Court released Mr. Doolin on July 8, 2021, (with the

condition of “Stand Alone Monitoring” (GPS ankle bracelet)), he continues to live

with his wife in his home community of Polk City, Florida. Counsel believes he is in

full compliance with all terms and conditions set forth in the Order Setting

Conditions of Release. (Doc. 22) 1

       8.      Prior to January 6, 2021, Mr. Doolin was a firefighter/EMT in Polk

City, Florida. Since January 6, 2001, he has been employed full-time with a local

bread delivery company. See letter from Aldon Haskaj, attached as an exhibit.

Furthermore. he possesses an excellent reputation in his community for being a

good family man, devoted to his faith, hardworking, and for being a contributing

member of his community. See letters from Pastor Kyle Ivy, Jimmy Wilson, Morgan

Doolin (wife), Jan Doolin (mother), Sam Doolin (brother). All letters are attached as

an exhibit.




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       On July 29, 2021, counsel requested U.S. Pre-Trial Services to provide a
compliance status update as to Mr. Doolin – which has not yet been produced.

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      9.      Mr. Doolin is not charged with a crime of violence or a felony,

therefore, “Stand Alone Monitoring” (GPS ankle bracelet) is not necessary to

“reasonably assure the appearance of the person as required and the safety of any

other person and the community.”

      WHEREFORE, for these reasons and such other reasons that may appear

just and proper, counsel respectfully requests that this motion to modify conditions

of release be granted.



                                        Respectfully Submitted,



                                        __________-S-___________________
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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 30th day of July, 2021, a copy of the foregoing Motion For

Modification Of Conditions Of Release, with a proposed Order, was delivered to case

registered parties by the CM/ECF court system.




                                              ___________-S-___________________
                                              Allen H. Orenberg




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